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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,                     CIVIL ACTION NO.:

                      Plaintiff,              HONORABLE:

vs.

ROBIN ARMITAGE

                   Defendant,

                                   COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

      The United States of America, plaintiff, alleges that:

                                    Jurisdiction

      1.     This court has jurisdiction over the subject matter of this action

pursuant to Article III, Section 2, U.S. Constitution and 28 U.S.C. § 1345.

                                       Venue

      2.     The defendant is a resident of Genesee County, Michigan within the

jurisdiction of this Court and may be served with service of process at 5293 E

Carpenter Rd Flint, MI 48506-4517.


                      The Debt – Account No. 2017A50990

      3. The debt owed to the United States of America is as follows:
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             A. Current Principal (after application of all
                prior payments, credits, and offsets)
                                                                         $20,322.09

             B. Current Capitalized Interest Balance and
                Accrued Interest                                         $8,396.30

             C. Administrative Fee, Costs, Penalties                     $0.00

             D. Credits previously applied (Debtor payments,
                credits, and offsets)                                    $0.00

             Total Owed                                                  $28,718.39

      The Certificate of Indebtedness, attached as Exhibit “A”, shows the total

owed excluding attorney’s fees and CIF charges. The principal balance and interest

balance shown on the Certificate of Indebtedness is correct as the date of the

Certificate of Indebtedness after application of all prior payments, credits and

offsets. Prejudgment interest accrues at the rate of 4.875% per annum.

                                       Failure to Pay

      4.     Demand has been made upon the defendant for payment of the

indebtedness, and the defendant has neglected and refused to pay the same.

      WHEREFORE, USA prays for judgment:

             A.     For the sums set forth in paragraph 3 above, plus prejudgment

interest through the date of judgment, all administrative costs allowed by law, and

post-judgment interest pursuant to 28 U.S.C. § 1961 and that interest on the

judgment be at the legal rate until paid in full;

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          B.     For attorney’s fees to the extent allowed by law;

          C.     Filing fee of $400.00 as premitted by 28 U.S.C. § 2412(a)(2);

          and,

          D.     For such other relief which the Court deems proper.



                              Respectfully submitted,

                           By: /s/ Craig S. Schoenherr, Sr.____________
                             CRAIG S. SCHOENHERR, SR. (P32245)
                             Attorney for Plaintiff
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